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 Attorneys for Defendants
 David J. Lujan, Anna B. Lujan and
 INOKO LLC

                    IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

 STACY MONIZ                          )   CIVIL NO.: 14 CV 00465 DKW-RLP
                                      )
               Plaintiff,             )
                                      )   DEFENDANTS DAVID J. LUJAN,
    vs.                               )   ANNA B. LUJAN AND INOKO LLC’S
                                      )   ANSWER TO FIRST AMENDED
 DAVID J. LUJAN; ANNA B.              )   COMPLAINT, FILED ON OCTOBER 13,
 LUJAN; INOKO LLC, a Hawaii           )   2014; DEMAND FOR JURY TRIAL;
 limited liability company and DOE    )   CERTIFICATE OF SERVICE
 DEFENDANTS 1-20,                     )
                                      )
               Defendants.            )
                                      )

             DEFENDANTS DAVID J. LUJAN, ANNA B. LUJAN AND
           INOKO LLC’S ANSWER TO FIRST AMENDED COMPLAINT,
                       FILED ON OCTOBER 13, 2014

          Come now Defendants David J. Lujan, Anna B. Lujan, and Inoko LLC, by

 and through their attorneys, Rosenberg & McKay, and for an Answer to the First
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 Amended Complaint filed on October 13, 2014 (the “Complaint”), hereby affirms,

 avers, and responds as follows:

 FIRST DEFENSE

        1.     The Complaint fails to state a claim upon which relief can be granted.

 SECOND DEFENSE

        2.     As to paragraph 1 of the Complaint, Defendants lack complete

 information as to the matters alleged and therefore deny the same and leave

 Plaintiff to his proof.

        3.     As to paragraph 3 of the Complaint, Defendants assert that the

 referenced governmental records speak for themselves.

        4.     As to paragraphs 7 and 8, Defendants admit that Plaintiff provided

 certain services in Guam. Defendants deny the remaining allegations contained in

 said paragraphs and leave Plaintiff to his proof.

        5.     As to paragraph 23, Defendants admit that certain law firms worked

 with Defendant David J. Lujan. Defendants leave Plaintiff to his proof as to the

 remaining allegations of said paragraph.

        6.     Defendants deny the allegations contained in paragraphs 11, 12, 13,

 17, 18, 19, 20, 21, 22, 24, 26, 27, 28, 29, 30, 31, 32, 33, 34, 35, 36, 37 (first

 paragraph numbered “37” under section III), 38, 39, 40, 42, 43, 45, 47, 48, 50, 51,




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 52, 53, 54, 55, 57, 58, 59, 60, 61, 62, 64, 65, 66, 67, 68, 69, 71, 72, 73, 75, 76, 77,

 78, 79, 81, 82, 84, 85, and 86 of the First Amended Complaint.

          4.   Defendants are without information sufficient to form a belief as to

 the truth or falsity of the allegations contained in paragraphs 4 and 25 of the First

 Amended Complaint and therefore, deny said allegations leaving Plaintiff to his

 proof.

          5.   As to paragraph 2 of the First Amended Complaint, Defendants admit

 that David and Anna Lujan are husband and wife, United States citizens, and

 citizens of the Territory of Guam. Defendants further admit owning the referenced

 property at 3016 Hoaloha Place. Defendants deny the remaining allegations of

 said paragraph.

          6.   As to paragraph 5 of the First Amended Complaint, Defendants assert

 that the agreement between Defendant Lujan and Plaintiff whereby Plaintiff began

 paralegal work for Defendant Lujan occurred in Guam while Plaintiff and

 Defendant Lujan were present in Guam. At all times relevant, Plaintiff sent his

 invoices to Guam and payments on said invoices were made from Guam.

 Defendants deny the remaining allegations of said paragraph.

          7.   As to paragraph 6 of the First Amended Complaint, Defendants admit

 that a conversation took place in Guam between Defendant Lujan and Plaintiff




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 regarding Plaintiff performing paralegal work relating to the Hillbloom matter

 described. Defendants deny the remaining allegations of said paragraph.

       8.     As to paragraphs 9 and 10 of the First Amended Complaint,

 Defendants admit that a conversation took place in Guam between Defendant

 Lujan and Plaintiff regarding Plaintiff performing paralegal work relating to the

 Hillbloom matter described. Plaintiff claimed that a proposed $100 per hour rate

 would constitute a discount from his “regular rate” of $150 per hour. Defendants

 deny the remaining allegations of said paragraphs.

       9.     As to paragraph 14 of the First Amended Complaint, Defendants

 admit that Plaintiff reviewed documents and performed certain services relating to

 the Hillbloom matter. Plaintiff was also asked to travel to Guam and other

 locations for meetings and other matters related to the work. Defendants deny the

 remaining allegations of said paragraph.

       10.    As to paragraph 15 of the First Amended Complaint, Defendants

 deny that Plaintiff was instructed to perform work related to the Hillbroom vs.

 Price Waterhouse matter, but admit that Plaintiff provided certain services relating

 to other matters. Defendants leave Plaintiff to his proof as to the work performed.

       11.    As to paragraph 16 of the First Amended Complaint, Defendants

 admit that Plaintiff performed work for Defendant INOKO, LLC and deny the

 remaining allegations of said paragraph.


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       12.   As to paragraphs 37 (second paragraph numbered “37” under section

 IV), 41, 44, 46, 49, 56, 63, 70, 74, 80, and 83 of the First Amended Complaint,

 Defendants reallege, reaffirm and incorporate herein by reference its responses

 stated herein above.

       13.   Defendants deny each and every paragraph of the First Amended

 Complaint not heretofore admitted or denied.

 THIRD DEFENSE

       14.   This Court lacks personal jurisdiction of the Defendants as they are

 citizens of Guam and the cause of action arose in Guam.

 FOURTH DEFENSE

       15.   Defendants intend to rely upon the defenses of statute of frauds and

 laches.

 FIFTH DEFENSE

       16.   Defendants intend to rely upon the defense of unclean hands.

 SIXTH DEFENSE

       17.   Defendants intend to rely upon the defense of fraud in the inducement.

 SEVENTH DEFENSE

       18.   Plaintiff has submitted fraudulent invoices for work that he has not

 performed and costs that were not appropriately incurred.




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 EIGHTH DEFENSE

       19.    Plaintiff’s claim for emotional distress arising from allegations of

 pecuniary loss is not authorized by Hawaii law.

 NINTH DEFENSE

       20.    Defendant Anna Lujan is not personally liable for the alleged

 indebtedness of a corporate entity in which she has an ownership interest and the

 claim against her is frivolous.

 TENTH DEFENSE

       21.    Defendants reserve each and every affirmative defense for which a

 basis is revealed through the course of discovery.

       DATED: Honolulu, Hawaii, October 24, 2014.


                                        /s/ Randall L.K.M. Rosenberg
                                        RANDALL L.K.M. ROSENBERG

                                        Attorneys for Defendants
                                        David J. Lujan, Anna B. Lujan and
                                        INOKO LLC




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                    IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

 STACY MONIZ                            )   CIVIL NO.: 14 CV 00465 DKW-RLP
                                        )
               Plaintiff,               )
                                        )       DEMAND FOR JURY TRIAL
    vs.                                 )
                                        )
 DAVID J. LUJAN; ANNA B.                )
 LUJAN; INOKO LLC, a Hawaii             )
 limited liability company and DOE      )
 DEFENDANTS 1-20,                       )
                                        )
               Defendants.              )
                                        )

                             DEMAND FOR JURY TRIAL

          Defendants David J. Lujan, Anna B. Lujan, and Inoko LLC, hereby demands

 a trial by jury on all issues presented by the Complaint so triable.

          DATED: Honolulu, Hawaii, October 24, 2014.

                                         /s/ Randall L.K.M. Rosenberg
                                         RANDALL L.K.M. ROSENBERG

                                         Attorneys for Defendants
                                         David J. Lujan, Anna B. Lujan and
                                         INOKO LLC




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                     IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF HAWAII

 STACY MONIZ                             )   CIVIL NO.: 14 CV 00465 DKW-RLP
                                         )
                Plaintiff,               )
                                         )   CERTIFICATE OF SERVICE
    vs.                                  )
                                         )
 DAVID J. LUJAN; ANNA B.                 )
 LUJAN; INOKO LLC, a Hawaii              )
 limited liability company and DOE       )
 DEFENDANTS 1-20,                        )
                                         )
                Defendants.              )
                                         )

                              CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a copy of the of the foregoing upon
 filing shall be duly served on the following individual(s) on   10-24-14 , via u.s.
 mail at his last known address listed below:
                                      Stacy Moniz
                                   47-563 Hua Place
                                 Kaneohe, Hawaii 96744

                                     Plaintiff Pro Se

                DATED: Honolulu, Hawaii, October 24, 2014.

                                          /s/ Randall L.K.M. Rosenberg
                                          RANDALL L.K.M. ROSENBERG

                                          Attorneys for Defendants
                                          David J. Lujan, Anna B. Lujan and
                                          INOKO LLC


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